              Case 2:06-cr-00441-DAD Document 439 Filed 04/03/12 Page 1 of 2


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     RICARDO VENEGAS,                                )       Date: June 8, 2012
13
                                                     )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendant.                               )
                                                     )
15
                                                     )
                                                     )
16

17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., that the status conference presently set for April 6,
20
     2012 be continued to June 8, 2012, at 9:00 a.m., thus vacating the presently set status
21
     conference.
22
            Further, all of the parties, the United States of America and all of the defendants as stated
23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a
24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that
25
     time under the Speedy Trial Act should therefore be under meaning of Title 18, United States
26
     Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation) and
27
     Local Code T4, and agree to exclude time from the date of the filing of the order until the date of
28
     the status conference, June 8, 2012. The continuance is requested to allow more time for defense


                                                         1
                            Case 2:06-cr-00441-DAD Document 439 Filed 04/03/12 Page 2 of 2



 1   preparation and possible negotiations for resolution. Additionally, the United States Probation
 2   Department is in the process of preparing a pre-plea report for the purpose of calculating
 3   defendant Ricardo Venegas’ criminal history; the results of the report will be used to further
 4   negotiate a disposition.
 5   IT IS SO STIPULATED.
 6
     Dated: April 2, 2012                                                   /s/ John R. Manning
 7                                                                         JOHN R. MANNING
                                                                           Attorney for Defendant
 8                                                                         Ricardo Venegas
 9

10
     Dated: April 2, 2012                                                  Benjamin B. Wagner
11                                                                         United States Attorney
12
                                                                   by:     /s/ Jill M. Thomas
13                                                                         JILL M. THOMAS
                                                                           Assistant U.S. Attorney
14
                                                            ORDER
15
                           GOOD CAUSE APPEARING, it is hereby ordered that the April 6, 2012 status
16
     conference be continued to June 8, 2012 at 9:00 a.m. I find that the ends of justice warrant an
17
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
18
     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
19
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
20
     Local Code T4 from the date of this order to June 8, 2012.
21
     IT IS SO ORDERED.
22
     Date: 4/3/2012
23

24                                                                  _________________________
                                                                    GARLAND E. BURRELL, JR.
25
                                                                    United States District Judge
26

27   DEAC_Signature-END:




28




                                                               2
